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May 19, 2023

Magistrate Virginia K. DeMarchi
Courtroom 2 – 5th Floor
San Jose Courthouse
280 South 1st Street
San Jose, CA 95113

Re:    In re Google RTB Consumer Privacy Litigation, No. 4:21-cv-02155-YGR-VKD
       Joint Report Regarding Remaining Privilege Log Disputes

Dear Magistrate Judge DeMarchi:

        Pursuant to the Court’s March 27, 2023 Order Re Further Proceedings for Resolution of
Disputes re Google’s Privilege Claims (ECF No. 461), Plaintiffs and Defendant Google LLC
(“Google”) (together, the “Parties”), by and through their respective counsel of record, hereby
jointly submit this report providing the parties’ (1) summaries of the current disputes remaining
and (2) respective proposals for efficiently resolving all remaining disputes. Consistent with the
Court’s Order, the parties met and conferred about the remaining disputes on May 17, 2023 but
were unable to reach agreement.
I.     SUMMARY

       A.      Plaintiffs’ Summary

        Contrary to the Court’s March 27 Order requiring Google to “re-review all disputed entries
and to provide more robust information to support its privilege claims,” Google reasserts the same
deficient descriptions for 3,021 entries. ECF No. 461 at 2. The Court has already found these
descriptions insufficient to assess Google’s privilege and/or protection (“WP”) claims. Given its
repeated failure to provide adequate information, Google has waived any claim of privilege and/or
protection over these documents. Burlington v. U.S., 408 F.3d 1142, 1149 (9th Cir. 2005); Loop
AI v. Gatti, 2016 WL 2908415, at *3 (N.D. Cal.) (finding waiver where a party repeatedly and
unjustifiably failed to comply with the court’s order to provide an adequate privilege log).

       Of the entries Google supplemented with additional information, Plaintiffs challenge just
182 entries.

       The following (overlapping) challenge categories remain in dispute:
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                                                                                # of
                                                                     # of Total
                                                                                Disputed
    Category Challenge Basis                                         Disputed
                                                                                Revised
                                                                     Entries
                                                                                Entries

                 Google has waived its claim of privilege and/or
         A       WP by reasserting the same inadequate 3,021                       n/a
                 description.

                 Comments inserted to a Google Doc or
                 presentation, where Google has not identified the
         B                                                         2,183           129
                 underlying document or established that it is, in
                 fact, privileged. See ECF No. 423 at 7.

                 For distribution list communications, Google has
                 not shown the communications “were made and
                 maintained in confidence.” Id. at 12; e.g., Entries
         C       #2574 (Google cannot identify the current 37                      37
                 membership); #5570 (email sent to three lists,
                 whose present membership includes more than
                 240 non-attorneys).

                 No attorney identified, and description does not
         D       show that the document seeks or reflects legal 84                 84
                 advice.

                 A member of Google’s legal department is one of
                 many recipients and there is no indication that the
         E                                                           86            24
                 primary purpose of the communication was to
                 generate legal advice.

                 Privilege justification states document concerns
                 legal advice from a member of Google’s legal
         F                                                        2,331            74
                 team, but document does not appear to be created
                 by or sent to an attorney.

                 Document withheld but Google has not shown
                 that the privileged portions “are so inextricably
         G       intertwined with the rest of the text that they 3,120             167
                 cannot be separated.” U.S. v. Christensen, 828
                 F.3d 763, 803 (9th Cir. 2015).

         H       Inadequate WP claim.                                5             0



Plaintiffs’ prior briefs provide additional detail regarding these challenges. See ECF No. 393, 401.
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       B.      Google’s Summary

        Pursuant to the Court’s March 27, 2023 Order, ECF No. 461, Google diligently re-reviewed
more than 4,500 additional challenged privilege log entries; produced any documents it could
disclose; and provided additional information to support its remaining claims as needed, including
by identifying additional attorneys where possible, providing current membership for email
distribution lists, and preparing detailed explanations of its claims where “not evident from the
other information disclosed for that entry.”

       Google disputes Plaintiffs’ continued challenges:


 Plaintiffs’ Challenge        Google’s Response




 A – “Inadequate         log The Court required only that Google re-review the documents
 entries”                    specified in ECF No. 461 and log eight categories of
                             information, which Google has done. The Court nowhere
                             required revisions as to every entry, much less held that all
                             Google’s prior entries were deficient. See id. at 2.




 B – Underlying documents Plaintiffs have no support for their apparent position that a
 on comment notifications comment notification may only be privileged if the
                          underlying document is privileged, or for their claim that
                          Google must identify underlying documents.




 C – Distribution        List Google has provided Plaintiffs with the current membership
 Communications               of distribution lists and included “an explanation for why
                              disclosure to the distribution list does not undermine or
                              destroy the confidentiality,” as the Court required.
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 D – Attorney Not Identified Google included sufficient information to substantiate these
                             privilege assertions, including with additional narratives
                             where necessary.




 E – Attorney among “many Plaintiffs provide no support for their belief that these
 recipients”              documents do not contain privileged content or that a
                          document can only be privileged if an attorney is among a
                          small set of correspondents. For entries that contained mailing
                          lists, Google provided Plaintiffs with the further information
                          the Court required.


 F – Attorney identified in An attorney need not appear in a metadata field for a
 document description but document to seek, contain, or reflect an attorney’s legal
 not metadata               advice.

                              As the Court directed, Google updated its log descriptions to
                              identify attorneys associated with legal advice sought or
                              provided.


 G – Demand that Google The claim that a party may not fully withhold privileged
 produce all privileged documents is meritless.
 documents with redactions




 H – “Inadequate” work This generic challenge is baseless and conclusory. Google’s
 product assertion     privilege log speaks for itself.




II.    PROPOSALS FOR RESOLVING DISPUTES

       A.      Plaintiffs’ Proposal

        1.     By May 26, 2023, Google should produce in full the 3,021 documents for which it
did not provide supplemental information, as required by the Court’s March 27 Order.
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        2.      For the remaining disputed 182 entries, the parties will select a random sample of
50 entries for in camera review. The Court may rely on Google’s description in its privilege log,
Plaintiffs’ basis for challenging Google’s privilege claim,1 and in camera review to make a
privilege/WP determination.

       3.      The parties will repeat Step #2 until the remaining disputes have been resolved.

       B.      Google’s Proposal

        Google proposes that the Court resolve all remaining privilege challenges by considering
Google’s revised consolidated privilege log with reference to the Court’s prior orders. The Parties
have already briefed at length the quantum and type of information required to sustain an assertion
of privilege, and the Court has already considered and ruled on these disputes. See ECF Nos. 339,
393, 396, 421, 423. If the Court would find further submissions helpful, Google proposes that the
Parties submit a single joint letter brief.


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  Google has refused Plaintiffs’ request to attach their basis for challenging individual entries to
this report.
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             ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
       I, Joshua D. Samra, attest that concurrence in the filing of this document has been obtained
from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
       Executed this 19th of May, 2023, at San Francisco, California.
                                                              /s/ Joshua D. Samra
                                                              Joshua D. Samra
